Case 2:03-cv-02637-tmp Document 78 Filed 04/19/05 Page 1 of 3 Page|D 84

 

 

uNrTED sTATEs DlsTRICT CoURT ,."
wEsTERN I)ISTRICT oF TENNESSEE 05 :;>-E.i; ny di h
wEsTERN DIvIsroN ‘
F'; 1 ‘ 1-- m ::3
i;}{j“ de `j»j` ‘."_;; ~’;‘;.
YoUNG’s TRADING COMPANY, ease NO. 03-Cv_2637' ' ' "' '““""'*i‘°

a Tennessee Corporation, (JURY TRJAL DEMANDED)

Plaintit`f/Counter-Defendant,

FANCY IMPORT, I`NC_, YEONG H. YUN
CHUN H. YI, and HOON G. JEONG,

1

)

)

)

)

_ )
-agamst- )
)

)

)

)

)

Det`endants/Counter-Plaintiffs.

 

ORDER ALLOWlNG WITHDRAW

 

Presently before this Court is Plaintift`s' counsel'sj Ronald W. Kim, Motion to Withdraw.
Present counsel t`or the Plaintiffs' have advised that the Plaintif`fs' have made the decision to seek
new counsel, and counsel t`urther reports that full file is available to the Plaintit`t`s, and further
that counsel will cooperate and communicate with the Plaintiffs' prospective new counsel
Counsel for the Plaintiffs has further shown that he has hilly complied with the Supreme Court
Rules under the Code of Responsibility Rule 8 Subsection EC 2-32 and has further shown in
good cause to allow his withdraw

Wheret`ore the Court being fully advised orders that Mr. Ronald W. Kim be and hereby is
allowed to withdraw from the representation of the Plaintiffs, Young’s Trading Company, in this
pending action and he is relieved of any t`urther duties or responsibilities regarding the
prosecution ot` this case The Court timber orders that a copy of this order be mailed to the
Plaintift`s and further that the Plaintiffs be and now hereby are allowed thirty (30) days from the

date of entry ot` this order to obtain new counsel

This document entered on the docket hee{t)j? compir`an
with Huie 58 andfor 79(3) FHCP on )_'j ' ,D"*O 5

@

Case 2:03-cv-02637-tmp Document 78 Filed 04/19/05 Page 2 of 3 Page|D 85

An afwhich isorderihis llaay of &%§\ l ,2005.
M…_

i'UDGE

v‘//tlo>"

DAILE‘

RW K/mp

UNITED sTTEAsDrsTrC COUR - WESRNTE D"'TRCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 2:03-CV-02637 was distributed by faX, mail, or direct printing on
Apri120, 2005 to the parties listed.

 

 

Eugene S. Forrester

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

1\/lemphis7 TN 38103

A. Todd Merolla

A. TODD h/[EROLLA, P.C.
5855 Sandy Springs Cr.

Ste. 300

Atlanta, GA 30328

Hoon G. leong

184 Scarborough Ln.
Apt. # 104

Cordova, TN 38018--486

Ronald W. Kim

KIM WILLCOX

241 Germantown Bend Cv.
Cordova, TN 38018

Honorable Tu Pham
US DISTRICT COURT

